Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 1 of 36 PageID #: 1
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 2 of 36 PageID #: 2
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 3 of 36 PageID #: 3
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 4 of 36 PageID #: 4
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 5 of 36 PageID #: 5
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 6 of 36 PageID #: 6
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 7 of 36 PageID #: 7
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 8 of 36 PageID #: 8
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 9 of 36 PageID #: 9
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 10 of 36 PageID #: 10
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 11 of 36 PageID #: 11
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 12 of 36 PageID #: 12
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 13 of 36 PageID #: 13
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 14 of 36 PageID #: 14
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 15 of 36 PageID #: 15
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 16 of 36 PageID #: 16
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 17 of 36 PageID #: 17
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 18 of 36 PageID #: 18
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 19 of 36 PageID #: 19
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 20 of 36 PageID #: 20
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 21 of 36 PageID #: 21
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 22 of 36 PageID #: 22
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 23 of 36 PageID #: 23
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 24 of 36 PageID #: 24
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 25 of 36 PageID #: 25
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 26 of 36 PageID #: 26
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 27 of 36 PageID #: 27
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 28 of 36 PageID #: 28
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 29 of 36 PageID #: 29
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 30 of 36 PageID #: 30
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 31 of 36 PageID #: 31
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 32 of 36 PageID #: 32
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 33 of 36 PageID #: 33
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 34 of 36 PageID #: 34
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 35 of 36 PageID #: 35
Case 1:00-cv-01218 Document 1 Filed 12/26/00 Page 36 of 36 PageID #: 36
